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    CITY OF SAN DIEGO
  7
  8                     UNITED STATES DISTRICT COURT
  9                  SOUTHERN DISTRICT OF CALIFORNIA
 10
 11 AMERICAN ASPHALT SOUTH, INC,            Case No. 3:21-cv-00176-DMS-NLS
    a California corporation,
 12                                         [Assigned for All Purposes to:
                 Plaintiff,                 Hon. Dana M. Sabraw, Dept. 13A]
 13
           v.
 14                                         NOTICE OF RELATED CASES
    CITY OF SAN DIEGO, a Municipal          [Local Rule 40.1]
 15 corporation,
 16             Defendant.
                                            Action Filed:       January 29, 2021
 17                                         Trial Date:         None Set
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                                                            Case No. 3:21-cv-00176-DMS-NLS
                                NOTICE OF RELATED CASES
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  1          TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO ALL
  2 PARTIES AND TO THEIR RESPECTIVE ATTORNEYS OF RECORD:
  3          Defendant City of San Diego (“Defendant”) hereby gives notice that the
  4 following cases are related to the instant action as set forth below:
  5          1.    American Asphalt South, Inc. v. City of San Diego, Case No. 37-2020-
  6 00038338-CU-VM-CTL, filed in the Superior Court of the State of California,
  7 County of San Diego, on October 22, 2020.
  8          2.    Pursuant to Civil Local Rule 40.1 (g), cases are related where “both of
  9 them: [i]nvolve some of the same parties and are based on the same or similar
 10 claims, or [i]nvolve the same property, transaction, patent, trademark, or event….”
 11 This case and the Related Action involve the same parties, and involve some of the
 12 same events or transactions.
 13
 14 DATED: February 3, 2021               MEYERS, NAVE, RIBACK, SILVER &
                                          WILSON
 15
 16
 17                                       By:
 18                                             JENNY L. RIGGS
                                                MARGARET W. ROSEQUIST
 19
                                                Attorneys for Defendant
 20                                             CITY OF SAN DIEGO
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                                                1                Case No. 3:21-cv-00176-DMS-NLS
                                    NOTICE OF RELATED CASES
